                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

 UNITED STATES OF AMERICA                                 §
                                                          §   CASE NO. 7:08-CV-061
 v.                                                       §   (Lead Case)

                                          §     TRACT NO. RGV-RGC-1045
26.774 ACRES OF LAND, MORE OR LESS,       §                 RGV-RGC-1046
SITUATED IN STARR COUNTY, STATE OF        §     (Expired Access Easements)
TEXAS; AND ANABELL G. GARCIA, ET AL. §
_____________________________________________________________________________

 UNITED STATES OF AMERICA                                 §   CASE NO. 7:08-CV-190
                                                          §   (Member case)
 v.
                                                          §   TRACT NO. RGV-RGC-1045
 2.94 ACRES OF LAND, MORE OR LESS,                        §             RGV-RGC-1045E-1
 SITUATED IN STARR COUNTY, STATE OF                       §             RGV-RGC-1045E-2
 TEXAS; AND ANABELL G. GARCIA, ET AL.                     §             RGV-RGC-1045E-3


               UNITED STATES’ RESPONSE TO THE COURT’S ORDER
                        REQUESTING STATUS UPDATE

       COMES NOW the United States of America (“United States”), and files this response to

the District Court’s October 17, 2018 Order to inform the Court on the status of the case:

                              PROCEDURAL BACKGROUND

A.     Civil No. 7:08-cv-061 Proceedings

       On August 8, 2008, the United States filed Civil No. 7:08-cv-061, condemning a temporary

(180-day) right-of-entry easement—identified as Tracts RGV-RGC-1045 and RGV-RGC-1046—

for the border fence project. On March 14, 2008, the United States deposited $100.00 into the

Court’s registry as its estimated just compensation for this temporary right-of-entry easement.

[Doc. No. 8]. Under the terms of this Court’s order, this easement began on March 25, 2008 and

expired on September 6, 2008. [Doc. No. 9, at 7, in Civil No. 7:08-cv-061]. At the time of taking,




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the United States believed that Anabell Garcia may have an interest in the land burdened by the

temporary right-of-entry easement. [Doc. No. 2-1, at 17, in Civil No. 7:08-cv-061].

         The United States filed status reports between 2010 and 2012. On July 23, 2010, the United

States filed a status report stating that it had sent a settlement offer to the landowner for her

consideration. [Doc. No. 13, in Civil No. 7:08-cv-061]. On October 2012, the United States filed

status reports explaining that consolidation of this case (Civil No. 7:08-cv-061) with the

subsequent takings case (Civil No. 7:08-cv-190) was appropriate because both cases involved the

same landowner. [Doc. No. 19, in Civil No. 7:08-cv-061].

B.       Civil No. 7:08-cv-190 Proceedings

         On June 28, 2008, the United States filed Civil No. 7:08-cv-190, condemning (i) a fee

simple interest in 2.94 acres, more or less, identified as Tract RGV-RGC-1045; (ii) a perpetual

right-of-way easement interest in 0.94 acres, more or less, identified as Tract RGV-RGC-1045E-

1; (iii) a temporary 24-month right-of-way easement in 0.22 acres, more or less, identified as Tract

RGV-RGC-1045E-2; and (d) a temporary 24-month right-of-way easement in 0.24 acres, more or

less, identified as Tract RGV-RGC-1045E-3. On July 2, 2008, the United States deposited

$8,000.00 into the Court’s registry as its estimated just compensation for Tracts RGV-RGC-1045,

RGV-RGC-1045E-1, RGV-RGC-1045E-2, and RGV-RGC-1045E-3. 1 [Doc. No. 4, in Civil No.

7:08-cv-190]. At the time of taking, the United States believed that Anabell and Marcos Garcia

owned these tracts. [Doc. No. 2-2, at 23, in Civil No. 7:08-cv-249].




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          See 40 U.S.C. § 3114(b) (“On filing the declaration of taking and depositing in the court, to the use of the
persons entitled to the compensation, the amount of the estimated compensation stated in the declaration—(1) title to
the estate or interest specified in the declaration vests in the Government; (2) the land is condemned and taken for the
use of the Government; and (3) the right to just compensation for the land vests in the persons entitled to the
compensation.”).


                                                      Page 2 of 4
       The United States filed two prior status reports in this case. On October 15, 2012, the

United States filed a status report explaining the need to file an Amended Declaration of Taking

(“ADT”) to clarify the description and plat of the property taken. [Doc. No. 13, in Civil No. 7:08-

cv-190]. On August 29, 2013, the United States filed a status report stating that it could not yet

predict when the ADT would be filed due to delays in obtaining the final surveys and title work

for the subject property. [Doc. No. 14, in Civil No. 7:08-cv-190].

C.     Consolidation and Subsequent Proceedings

       On November 10, 2014, the United States filed its unopposed motion to consolidate Civil

No. 7:08-cv-061 and Civil No. 7:08-cv-190 because these cases are related border fence actions

involving common tracts and common ownership. [Doc. No. 15]. 2 On November 25, 2014, this

Court granted the motion to consolidate the two cases under consolidated Civil No. 7:08-cv-061.

The United States understands that Lizandro Garcia and Ninfa Alicia Granados Perez are

designated attorneys-in-fact for landowner Anabel Garcia in this case.

                                    ANTICIPATED NEXT STEPS

       The United States plans to take the following steps to resolve this case:

       (1)     File an Amended Declaration of Taking (“ADT”) and Amended Complaint in

Condemnation (“Amended Complaint”) in order to (a) clarify the description and plat of the land

acquired based on finalized surveys and title examination results; (b) clarify that the land taken did

not include water distribution and drainage systems; and (c) add as defendants any new parties

identified as having an interest.

       (2)     Resolve all outstanding issues with the landowners, including just compensation,

once title ownership has been confirmed via the ADT.



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       All references to documents filed after November 10, 2014 refer to Consolidated Civil No. 7:08-cv-061.


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                                                      Respectfully submitted,

                                                      RYAN K. PATRICK
                                                      United States Attorney
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                                CERTIFICATE OF SERVICE

       I certify that on December 7, 2018, 2018, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, and that our office will send a copy of this document on

December 7 and/or 10, 2018 via regular mail to all parties who have made an appearance and/or

for whom the United States has contact information.

                                                      s/ Christopher D. Pineda
                                                      CHRISTOPHER D. PINEDA
                                                      Assistant United States Attorney




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